                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                           Civil Action No: 1:23-cv-00077

 AMY BRYANT, MD,
                                              RESPONSE OF DEFENDANT
                   Plaintiff,                   JEFF NIEMAN, IN HIS
                                               OFFICIAL CAPACITY AS
        v.                                    DISTRICT ATTORNEY FOR
                                              NORTH CAROLINA’S 18TH
 JOSHUA STEIN, in his official capacity      PROSECUTORIAL DISTRICT,
 as Attorney General for the State of North TO MOTION TO INTERVENE AS
 Carolina, et al.,                                 DEFENDANTS

                     Defendants.


      Defendant Jeff Nieman, in his official capacity as District Attorney for North

Carolina’s 18th Prosecutorial District, by and through his undersigned counsel, hereby

responds to the Motion to Intervene as Defendants filed by Philip E. Berger and Timothy

K. Moore [DE 29]. Defendant Nieman does not oppose the motion to intervene.

      Respectfully submitted, this the 8th day of March, 2023.

                                        JOSHUA H. STEIN
                                        ATTORNEY GENERAL



                                        /s/ Kathryn H. Shields
                                        Kathryn H. Shields
                                        Special Deputy Attorney General
                                        N.C. Department of Justice
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                                        Raleigh, NC 27602
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                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was electronically filed with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all counsel

of record for the parties who are registered with the CM/ECF system.

      Respectfully submitted this the 8th day of March, 2023.


                                         /s/ Kathryn H. Shields
                                         Kathryn H. Shields
                                         Special Deputy Attorney General
                                         N.C. Department of Justice




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